447 F.2d 1374
    YAZOO VALLEY OIL MILL, INC., Plaintiff-Appellant,v.MUSKOGEE IRON WORKS, Defendant-Appellee.No. 31125 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    June 2, 1971.
    
      John C. Satterfield, Yazoo City, Miss., W. M. Whittington, Jr., Greenwood, Miss., for plaintiff-appellant; Satterfield, Shell, Williams &amp; Buford, Yazoo, Miss., Whittington &amp; Brock, Greenwood, Miss., of counsel.
      Charles S. Tindall, Jr., Roy D. Campbell, Jr., Greenville, Miss., for defendant-appellee; Lake, Tindall &amp; Hunger, Campbell, DeLong, Keady, Robertson &amp; Hagwood, Greenville, Miss., of counsel.
      Appeal from the United States District Court for the Northern District of Mississippi; Orma R. Smith, District Judge.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    Affirmed.  See Local Rule 21.1
    
      
        1
         See N.L.R.B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    